Case:20-03084-ESL7 Doc#:27 Filed:10/12/22 Entered:10/12/22 10:54:38                          Desc: Main
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                IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF PUERTO RICO

   IN RE:

       BUXO ITURRONDO, HECTOR JOSE                             CASE NUMBER: 20-03084-ESL


       DEBTOR(S)                                                              (Chapter 7)
                                                                            NO ASSET CASE

                        NOTICE OF ABANDONMENT OF PROPERTY

 TO: THE HONORABLE COURT, CREDITORS AND PARTIES IN INTEREST:

        COMES NOW, Wigberto Lugo-Mender, duly appointed Chapter 7 Trustee of the above
 captioned case, who respectfully states and prays as follows:

         1. Notice pursuant to 11 U.S.C. Section 554(a) is hereby given as to the undersigned
            trustee’s intention to abandon the estate property detailed below:

         2. The property being abandoned is as follows:

 Other Property                                   Schedule       Amount           Claim           Value
                                                     Value        Secured      Exemption       to Estate
 50% interest on community property             $71,500.00     151,618.65           0.00           0.00
 located at Condominio Paseo Gran Vista
 Apart. 312 Edif. B Gurabo PR
 50% interest on community property             $86,400.00     283,686.04             0.00          0.00
 located at Urb. Veredas #791 Barrio
 Navarro Gurabo Puerto Rico


 3. The trustee intends to and hereby abandons this property since this is burdensome or
    has no value to the estate for lack of equity. The Trustee stated that the properties are
    part of a settlement agreement that will be filed before the end of the week.
 4. Household goods and furnishing, major appliance, electronics, wearing apparel, jewelry with
    inconsequential value to the estate are hereby abandoned.

 NOTICE TO ALL PARTIES: within fourteen (14) days after service as evidenced by the
 certification, and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were
 served by mail, any party against whom this paper has been served, or any other party to the
 action who objects to the relief sought herein, shall serve and file an objection or other
 appropriate response to this paper with the Clerk’s office of the U.S. Bankruptcy Court for the
 District of Puerto Rico. If no objection or other response is filed within the time allowed herein,
 the paper will be deemed unopposed and may be granted unless: (i) the requested relief is
 forbidden by law; (ii) the requested relief is against public policy; or (iii) in the opinion of the
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 Court, the interest of justice requires otherwise.

 THIS BEING A NO ASSET CASE, THE TRUSTEE HEREBY REQUESTS THIS
 HONORABLE COURT TO ORDER THE CLERK’S OFFICE TO GIVE NOTICE OF THIS
 ABANDONMENT TO ALL CREDITORS AS PER THE MASTER ADDRESS LIST.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY: That on this same date, I electronically filed the foregoing with
 the Clerk of the Court using the CM/ECF System which will send notification of such filing to
 the parties appearing in said system




        RESPECTFULLY SUBMITTED.



 Date: October 12, 2022                              s/ Wigberto Lugo-Mender
                                                    Wigberto Lugo-Mender
                                                    100 CARR 165 STE 501
                                                    Guaynabo, PR 00968-8052
                                                    Tel. (787) 707-0404
                                                    Fax. (787) 707-0412
